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CONFIDENTIAL ‐ Weekly Report: Hearing over 48 hours or not present from Oct 06, 2018 to Oct 14, 2018 

 

                                                                 PC Docket                     Not Present                    Arresting
    Defendant Name     CaseNbr        CourtID   Arrest Date                          Present                   DefendantSPN
                                                                 Setting Date                  Reason                         Agency
                                                    10/5/2018                                  Medical-                       CONSTABLE
    SCOTT, BRANDI      222761801010         5                       10/6/2018 2:00   No                             2087329
                                                        11:45                                  condition                      PCT 4
                                                                                                                              HOUSTON
    CHAPPEL, ZACKERY                                10/5/2018                                  refused to
                       222764901010         8                       10/6/2018 7:00   No                             2152837   POLICE
    DALE                                                22:30                                  come to Court
                                                                                                                              DEPARTMENT
                                                                                                                              HOUSTON
    YOUNG, NICHOLAS    222760001010         4   10/4/2018 0:56      10/6/2018 7:00   Yes                            1690417   POLICE
                                                                                                                              DEPARTMENT
                                                    10/5/2018                                  Medical-                       CONSTABLE
    BALKEMAN, EMILY    222767701010         3                      10/6/2018 13:00   No                             2955399
                                                        20:00                                  condition                      PCT 4
                                                                                                                              SHERIFFS
                                                    10/5/2018                                                                 DEPARTMENT
    JONES, ROBERT      222765901010        15                      10/6/2018 13:00   No        combative            2544140
                                                        18:00                                                                 HARRIS
                                                                                                                              COUNTY

                                                                                                                              HOUSTON
                       222765001010                                                            Medical-
    BROWN, DARRELL                          6   10/5/2018 9:30     10/6/2018 18:00   No                             2481543   POLICE
                       222765101010                                                            condition
                                                                                                                              DEPARTMENT

                                                                                                                              HOUSTON
    GREEN, PATRICIA                                 10/6/2018                                  Medical-
                       219996801010         7                      10/6/2018 23:00   No                             1734495   POLICE
    ANN                                                 15:51                                  condition
                                                                                                                              DEPARTMENT
                                                                                                                              HOUSTON
    CHANCE, BILLIE                                  10/5/2018                                  Medical-
                       222765301010         9                       10/7/2018 2:00   No                             2628034   POLICE
    CLIFFORD                                            12:11                                  condition
                                                                                                                              DEPARTMENT

                                                                                                                              BAYTOWN
    CORONA, RAQUEL     222765701010
                                           14   10/6/2018 9:20      10/7/2018 7:00   No        Med/MHU              2966367   POLICE
    ESTELLA            222765801010
                                                                                                                              DEPARTMENT




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                                                                                                              SHERIFFS
OSBORNE, TRAVIS     221639401010                                                 Medical-                     DEPARTMENT
                                    2   10/7/2018 8:20   10/7/2018 13:00   No                       2654261
W                   222481001010                                                 condition                    HARRIS
                                                                                                              COUNTY
                                                                                                              SHERIFFS
HALE, JESSICA                               10/6/2018                            Medical-                     DEPARTMENT
                    222785001010   13                    10/7/2018 23:00   No                       2737191
RENEE                                           20:00                            condition                    HARRIS
                                                                                                              COUNTY
                                                                                                              LA PORTE
ROBINSON, CODY D-                                                                Medical-
                    222788601010    4   10/7/2018 3:24   10/7/2018 23:00   No                       2526067   POLICE
WAYNE                                                                            condition
                                                                                                              DEPARTMENT
                                                                                                              HOUSTON
PEARL, THOMAS                               10/6/2018                            Medical-
                    222795601010   10                     10/8/2018 7:00   No                       1236675   POLICE
WAYNE                                           21:30                            condition
                                                                                                              DEPARTMENT
                                                                                                              DEER PARK
FORD, JASON                                 10/7/2018
                    220470101010    3                    10/8/2018 13:00   No    Combative          1939953   POLICE
JERMAINE                                        10:28
                                                                                                              DEPARTMENT
                                                                                                              SHERIFFS
PRESLEY, MICHELE                            10/7/2018                                                         DEPARTMENT
                    222801701010    9                    10/8/2018 13:00   No    hospital           988838
ANNETTE                                         20:21                                                         HARRIS
                                                                                                              COUNTY
                                                                                 Mental-illness               HOUSTON
BAUMGARTNER,                                10/3/2018
                    222425601010    1                    10/8/2018 16:00   No    or Intellectual-   2680439   POLICE
DANIEL J                                        14:10
                                                                                 disability                   DEPARTMENT
                                                                                                              HOUSTON
NABORS, KEVIN                               9/30/2018
                    221665701010    7                    10/8/2018 16:00   Yes                      2000390   POLICE
ODELL                                           22:31
                                                                                                              DEPARTMENT
                                                                                 Mental-illness               HOUSTON
                                            10/7/2018
WRIGHT, PATIENCE    222800901010   16                    10/8/2018 16:00   No    or Intellectual-   2724589   POLICE
                                                15:21
                                                                                 disability                   DEPARTMENT
                                                                                                              PASADENA
CONROY, SHANNON                                                                  Medical-
                    222802701010    1   10/8/2018 0:45   10/8/2018 20:00   No                       2136519   POLICE
ELIZABETH                                                                        condition
                                                                                                              DEPARTMENT
HILL, JACQUELINE                                                                 Medical-                     CONSTABLE
                    217284601010   14   10/8/2018 8:00   10/8/2018 20:00   No                       2705935
MARIE                                                                            condition                    PCT 5




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                                           10/7/2018                             Medical-
NAVA, JUDY         222802101010    5                     10/8/2018 20:00   No                       1199097   HUMBLE PD
                                               19:05                             condition

                                                                                                              HOUSTON
                   222341801010            10/8/2010
CAPERS, SAMUEL                     6                     10/9/2018 16:00   Yes                      1238426   POLICE
                   222811101010                15:58
                                                                                                              DEPARTMENT

RHODES, VAMECIA                            10/8/2018                             per sheriff                  CONSTABLE
                   216396801010    2                     10/9/2018 16:00   No                       2175177
MARIE                                          14:56                             uncooperative                PCT 5
                                                                                 per sheriff's                HOUSTON
                                           10/9/2018
VELOSA, ALIZE      221409001010   12                     10/9/2018 18:00   No    office             2955019   POLICE
                                               11:36
                                                                                 combative                    DEPARTMENT
                                                                                                              HOUSTON
WILLIAMS, TAILUA                                                                 Combative per
                   222812001010   11   10/8/2018 3:33    10/9/2018 20:00   No                       2686249   POLICE
TIANN                                                                            HCSO
                                                                                                              DEPARTMENT
                                                                                                              SHERIFFS
DEGAN, SAMUEL                              10/9/2018                             Medical-                     DEPARTMENT
                   219911501010    1                     10/9/2018 23:00   No                       2122632
ZACHARY                                        13:00                             condition                    HARRIS
                                                                                                              COUNTY
                                                                                                              HOUSTON
ANDRADE, JOSE                                                                    Medical-
                   222822701010    6   10/9/2018 0:20    10/10/2018 7:00   No                       2966881   POLICE
DAVID                                                                            condition
                                                                                                              DEPARTMENT
                                                                                                              BELLAIRE
BOYD, DAVID                                10/9/2018                             DISRUPTIVE
                   222824801010    9                     10/10/2018 7:00   No                       973444    POLICE
WAYNE                                          16:09                             PER HCSO
                                                                                                              DEPARTMENT
                                                                                 Mental-illness               METRO P. D.
GILBERT, SALEM
                   222823401010   13   10/9/2018 8:30    10/10/2018 7:00   No    or Intellectual-   1816849   CITY OF
WANIS
                                                                                 disability                   HOUSTON
                                                                                 disruptive and               HOUSTON
BERRY, STEPHONE                            10/9/2018
                   222825301010    1                    10/10/2018 13:00   No    uncooperative      1584730   POLICE
LANEAR                                         11:34
                                                                                 per hcso                     DEPARTMENT
                                                                                                              SHERIFFS
                                           10/9/2018                             Medical-                     DEPARTMENT
ASHE, NYOMI        222836201010    8                    10/10/2018 20:00   No                       2951773
                                               18:00                             condition                    HARRIS
                                                                                                              COUNTY




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                                                                                                           HOUSTON
                                        10/10/2018                            Medical-
MCKEE, TORI        220729701010    9                 10/10/2018 23:00   No                       1408060   POLICE
                                             10:51                            condition
                                                                                                           DEPARTMENT
                                                                                                           UNIVERSITY
                                        10/10/2018                            Medical-
BROCK, MATTHEWS    214509301010    3                  10/11/2018 4:00   No                       2304530   OF TEXAS
                                             17:15                            condition
                                                                                                           POLICE DEPT.
                                                                                                           HOUSTON
                                        10/10/2018                            Medical-
RATCLIFF, JESSIE   222837801010   10                  10/11/2018 4:00   No                       2435269   POLICE
                                              2:00                            condition
                                                                                                           DEPARTMENT
TONES, RICKY                            10/10/2018                            Medical-                     CONSTABLE
                   222838701010    1                  10/11/2018 4:00   No                       1316631
MAURICE                                      11:30                            condition                    PCT 7
                                                                              Mental-illness
ANTUNEZ,                                10/10/2018                                                         CONSTABLE
                   222843501010    6                  10/11/2018 7:00   No    or Intellectual-   2619577
VALENTIN                                     17:40                                                         PCT 4
                                                                              disability
                                                                                                           SHERIFFS
BROOKS, QUINCY                          10/10/2018                            Medical-                     DEPARTMENT
                   222842401010   12                  10/11/2018 7:00   No                       1801321
MICHAEL                                      18:00                            condition                    HARRIS
                                                                                                           COUNTY
                                                                              Mental-illness
ANTUNEZ,                                10/10/2018                                                         CONSTABLE
                   222843401010    6                  10/11/2018 7:00   No    or Intellectual-   2619577
VALENTIN                                     17:40                                                         PCT 4
                                                                              disability
                                                                                                           SHERIFFS
                                                                              Mental-illness
                                        10/10/2018                                                         DEPARTMENT
LIGE, GWENDOLYN    222840001010    4                 10/11/2018 10:00   No    or Intellectual-   2967109
                                             13:30                                                         HARRIS
                                                                              disability
                                                                                                           COUNTY
                                                                                                           HOUSTON
WYATT, JOSHUA                           10/11/2018                            Medical-
                   213358501010    9                 10/11/2018 18:00   No                       2892404   POLICE
BERNARD                                      10:45                            condition
                                                                                                           DEPARTMENT
                                                                                                           LA PORTE
KNIGHT, EDWARD                           9/28/2018
                   220565201010   16                 10/11/2018 20:00   Yes                      1540570   POLICE
ALAN                                         23:36
                                                                                                           DEPARTMENT
TEJEDA-                                                                                                    HOUSTON
                                        10/10/2018                            Medical-
RODRIGUEZ,         222851101010    9                 10/11/2018 23:00   No                       2967238   POLICE
                                             17:06                            condition
MELISSA RAMIREZ                                                                                            DEPARTMENT




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WAUDBY, REBECCA                         10/11/2018                            Medical-
                   222858301010   16                 10/12/2018 13:00   No                       1664376   HUMBLE PD
DIANA                                        20:33                            condition
                                                                                                           HOUSTON
JOHNSON, DAMMON                         10/11/2018
                   222860701010   14                 10/12/2018 16:00   No    combative          2186938   POLICE
DARRELL                                      20:51
                                                                                                           DEPARTMENT
                                                                              Mental-illness               HOUSTON
LEONARD,                                10/11/2018
                   221690701010   10                 10/12/2018 16:00   No    or Intellectual-    331598   POLICE
KENNETH                                      18:51
                                                                              disability                   DEPARTMENT
                                                                                                           HOUSTON
MUHAMMAD,                               10/11/2018                            Medical-
                   218206801010   15                 10/12/2018 18:00   No                       2929669   POLICE
ABDUL ALI-QUR                                11:45                            condition
                                                                                                           DEPARTMENT
                                                                                                           HOUSTON
                                        10/10/2018
JOHN, MAURICE Q.   222854901010    2                  10/13/2018 2:00   Yes                      2255494   POLICE
                                             23:40
                                                                                                           DEPARTMENT
                                                                                                           HOUSTON
KEMP, KIMBERLY                          10/11/2012                            Medical-
                   222855301010    6                  10/13/2018 2:00   No                       1565814   POLICE
MONIEKE                                       1:54                            condition
                                                                                                           DEPARTMENT
                                                                                                           HOUSTON
MIRELES, MICHAEL                        10/12/2018                            Medical-
                   216664201010    3                  10/13/2018 2:00   No                       2875325   POLICE
ANTHONY                                       8:31                            condition
                                                                                                           DEPARTMENT
                                                                                                           HOUSTON
                                        10/12/2018                            Medical-
SAUSEDA, YVETTE    213710701010   11                 10/13/2018 10:00   No                       2337303   POLICE
                                              9:05                            condition
                                                                                                           DEPARTMENT
                                                                                                           SHERIFFS
                                                                              Mental-illness
MOORE, DEANDRE                          10/13/2018                                                         DEPARTMENT
                   222884901010   13                  10/14/2018 2:00   No    or Intellectual-   2549359
TERRELL                                      11:00                                                         HARRIS
                                                                              disability
                                                                                                           COUNTY
                                                                                                           JERSEY
ROBERTSON,                              10/13/2018                            Medical-                     VILLAGE
                   222881101010    6                  10/14/2018 2:00   No                       2967552
DAVINE                                        5:25                            condition                    POLICE
                                                                                                           DEPARTMENT
                                                                                                           SHERIFFS
VONGPHAKDY,                             10/12/2018                            Medical-                     DEPARTMENT
                   222876601010   11                  10/14/2018 2:00   No                       1381627
PASITH                                       23:55                            condition                    HARRIS
                                                                                                           COUNTY




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                    222698401010                                                                           HOUSTON
                                         10/13/2018                           Unc &
TEMPLE, LC III      222879701010    3                 10/14/2018 10:00   No                      2199821   POLICE
                                               5:00                           Disruptive
                    222879801010                                                                           DEPARTMENT


                                                                                                           SHERIFFS
                                         10/13/2018                           Medical-                     DEPARTMENT
VIVEROS, YANET      222891001010   11                 10/14/2018 13:00   No                      2967599
                                              16:30                           condition                    HARRIS
                                                                                                           COUNTY
                                                                              Mental-illness
DESMORE, JOSEPH L                        10/13/2018
                    222894101010    9                 10/14/2018 18:00   No   or Intellectual-   1960543   HUMBLE PD
III                                           23:10
                                                                              disability

LAFLEUR, PHILIP     222895001010         10/13/2018                           Medical-
                                    2                 10/14/2018 20:00   No                      382023    HUMBLE PD
ANTHONY             222895101010              18:00                           condition

                                                                                                           HOUSTON
                                         10/13/2018                           Medical-
MCQURREN, VERCY     222891901010    5                 10/14/2018 20:00   No                      2967610   POLICE
                                              16:20                           condition
                                                                                                           DEPARTMENT
                                                                                                           HOUSTON
CASTRO, VIVIANA                          10/13/2018                           Medical-
                    222892101010    7                 10/14/2018 23:00   No                      2967612   POLICE
LIZETTE                                       13:49                           condition
                                                                                                           DEPARTMENT
                                                          




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